Case 1:19-cv-12235-LTS Document 208-11 Filed 07/14/21 Page1of19

EXHIBIT 11
ao uw &® WwW NY FHF

23

24

Case 1:19-cv-12235-LTS Document 208-11 Filed 07/14/21 Page 2of19

Page 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

KREKEKEKEKREKEKEKEKERKEKRKKRRKKRKRKRRK RRR

JOSEPH MANTHA, on behalf of himself

and all others similarly situated,

Plaintiff

vs. CA NO. 1:19-ev-12235-LTS

QUOTEWIZARD.COM, LLC,

Defendant

KKEKEKKKEEKKKEKKKEKKKEKKKEKKKKKKKKKKEK

VIDEOTAPED DEPOSITION OF:
STEVEN NOVIA
(Taken Remotely)
160 Speen Street
Framingham, Massachusetts
September 1, 2020 10:07 a.m.

Darlene M. Coppola

Registered Merit Reporter

Certified Realtime Reporter

1-800-727-6396 Veritext Legal Solutions www. veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 3of19

Page 2 Page 4
1
APPEARANCES: 1 INDEX
2 R sas the Plaintiff and the wi 2 EXAMINATION
epresenting the Plaintiit and the witness: .
3 3 Witness Name Page
, (ViaZo0m) 4 STEVEN NOVIA
. THE LAW OFFICE OF EDWARD A. BRODERICK 5 Direct By Mr. Polansky w.... cece 7
. 208 Ridge Street 6
6
Winchester, MA 01890 7 a EXHIBITS
’ BY: EDWARD A, BRODERICK, ESQUIRE 8 Exhibit Description Page
8 , , 9 Exhibit] Subpoena 10
9 PONT TSS. 7080 10 Exhibit2 — Proof of Service 10
0 E ted@broderick-law.com 11 Exhibit3 Text Message 1]
-and- 12
11 13
CW LAW GROUP, P.C.
° 188 Oaks Road 4
eli
13 15
Framingham, MA 01702
14 16
BY: ALEX M. WASHKOWITZ, ESQUIRE 17
15
T 508.309.4880 18
16 19
E alexidiewlawgrouppe.com
17 30
18
19 (Continued on next page) 21
20
3 22
22 93
23
24 24
Page 3 Page 5
1 APPEARANCES (Continued): 1 (Deposition commencing at 10:07 a.m.)
2 Representing the Defendant: 2
3 (Via Zoom) 3 THE VIDEOGRAPHER: Good morning.
4 NELSON MULLINS RILEY & SCARBOROUGH LLP 4 We are going on the record at 10:07 a.m.
5 One Post Office Square, 30th Floor 5 on September 1, 2020.
6 Boston, MA 02109 6 Please note that the microphones are
7 BY: KEVIN P. POLANSKY, ESQUIRE 7 sensitive and may pick up whispering, private
8 T 617.217.4700 8 conversations and possible cellular
9 E kevin.polansky@nelsonmullins.com 9 interference. Please turn off all cell phones
10 10 or place them away from microphones, as they
11 Also present: 11 can interfere with the deposition audio.
12 Adam Venturini, Videographer 12 Audio and video recording will
13 13 continue to take place unless all parties
14 14 agree to go off the record.
15 15 This is Media Unit No. | of the
16 16 video-recorded deposition of Steven Novia
17 17 taken by counsel for the defendant in the
18 18 matter of Joseph Mantha versus
19 19 QuoteWizard.com, LLC, filed in the US District
20 20 Court for the District of Massachusetts.
21 21 My name is Adam Venturini from the
23 22 firm Veritext, and I'm the videographer. The
23 23 court reporter is Darlene Coppola from the
24 24 firm Veritext.

2 (Pages 2 - 5)

1-800-727-6396 Veritext Legal Solutions www. veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 4of19

Page 6 Page 8
1 I'm not authorized to administer an 1 MR. WASHKOWITZ: Yes.
2 oath. I'm not related to any party in this 2 BY MR. POLANSKY:
3 action, nor am I financially interested in the 3 Q. Mr. Novia, have you ever provided
4 outcome. 4 deposition testimony before?
5 Counsel and all present remotely will 5 A. No. This is the first one.
6 now state their appearances and affiliations 6 Q. Okay. So there's a couple of ground
7 for the record. If there are any objections 7 rules that your counsel may have informed you
8 to proceeding, please state them at the time 8 of, but I'll just go over them quickly.
9 of your appearance, beginning with the 9 A. Yes, sir.
10 noticing attorney. 10 Q. First, as you know, this is being
11 MR. POLANSKY: Good morning. 11 taped both by video and being recorded by a
12 Kevin Polansky on behalf of the defendant 12 stenographer. So it's very important that we
13 Quote Wizard. 13 use verbal responses to respond to questions.
14 MR. BRODERICK: Good morning. | 14 Okay?
15 Edward Broderick for the plaintiff, Joe 15 A. Yes, sir.
16 Mantha. 16 Q. Ifyou don't understand a question
17 MR. WASHKOWITZ: Good morning, 17 that I have, please let me know and I'll
18 Alex Washkowitz on behalf of plaintiff Joe 18 rephrase it. Okay?
19 Mantha and on behalf of Steven Novia. 19 A. Yes, sir.
20 THE VIDEOGRAPHER: Will the 20 Q. Ifyou need a break at any time, just
21 court reporter please swear in the witness. 21 let me know. I would just ask that you answer
22 22 any question posed before you take a break.
23 23 Okay?
24 24 A. Yes, sir.
Page 7 Page 9
1 STEVEN NOVIA, 1 Q. And if you're having any technical
2 a witness called for examination by 2 difficulties, either hearing me or with your
3 counsel for the Defendant, having been 3 own screen, just let us know and we'll take a
4 satisfactorily identified by the production of 4 break. Okay?
5 his driver's license and being first duly 5 A. Yes, sir.
6 sworn by the Notary Public, was examined and | 6 Q. Could you please state your full name
7 testified as follows: 7 for the record,
8 8 A. Steve Novia, Jr.
9 THE VIDEOGRAPHER: You may 9 Q. And did you view any documents in
10 proceed. 10 preparation for today's deposition?
11 MR. POLANSKY: Thank you. 11 A. No, sir.
12 12 Q. Did you speak to anyone other than
13 DIRECT EXAMINATION 13 your counsel in preparation for today's
14 BY MR. POLANSKY: 14 deposition?
15 Q. Good morning, Mr. Novia. Will you 15 A. No, sir.
16 please state your name for the record. 16 Q. Did you speak with Joe Mantha prior to
17 A. How are you? Steve Novia. 17 today's deposition?
18 MR. POLANSKY: Alex and Ted, 18 A. No, sit.
19 usual stipulations? 19 Q. Did you bring any documents with you
20 MR. WASHKOWITZ: Yes. 20 today?
21 MR. BRODERICK: Yes. 21 A. No, sit.
22 MR. POLANSKY: Thirty days to 22 Q. Now, you received a subpoena requiring
23 read and sign, waive notary? 23 your attendance to give testimony in this
24 MR. BRODERICK: Yes. 24 case; is that correct?

1-800-727-6396

Veritext Legal Solutions

3 (Pages 6 - 9)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 5of19

Page 10 Page 12
1 A. I'm sorry? 1 possession with Mr. Mantha regarding this
2 Q. Sure. You received a subpoena 2 lawsuit?
3 requiring you to give attendance in this case; 3 A. Yes, sir.
4 is that correct? 4 Q. Did you search your text messages with
5 A. Yes, sir. 5 Mr. Mantha to ensure there are no other text
6 Q. I'm referring to Exhibit 1, which is 6 messages available?
7 the subpoena. Can you take a look at that. 7 A. No, sir.
8 8 Q. So you didn't go back and review your
9 (Exhibit No. 1 marked for 9 text messages with Mr. Mantha from any time,
10 identification.) 10 let's say from August to the present?
ll 11 A. NO, sir.
12 (Exhibit No, 2 marked for 12 Q. And why is that?
13 identification.) 13 A. I don't understand the question.
14 14 Interview?
15 BY MR. POLANSKY: 15 Q. I'm sorry. You said --
16 Q. Let me know when you have it in front 16 A. I don't understand the question.
17 of you. 17 Review? Interview? What did you say?
18 A. Ihave it in front of me, sir. 18 Q. Review. So --
19 Q. Specifically, I'm referencing page 6 19 A. I'm --
20 of 6 where it says "Document Requests." 20 Q. Sure. My question is, did you review
21 A. Last -- yes, sir. 21 any text message exchanges that you've had
22 Q. And do you see where it says "Request 22 with Mr. Mantha from August 2019 to the
23 No. 1"? 23 present?
24 A. Yes, sir. 24 A. Yeah, this was the only one.
Page 11 Page 13
1 Q. And it asks for "any and all 1 Q. Okay. That was my question.
2 correspondence between you and Joe Mantha 2 A. Oh, I'm sorry. I -- apologies.
3 and/or any other person or entity regarding 3 Q. No, that's okay.
4 this lawsuit including, but not limited to, 4 So there's no other text messages
5 copies of text message exchanges." 5 between you and Mr. Mantha from that time
6 Do you see that? 6 frame regarding this litigation?
7 A. Yes, sir. 7 A. No, I do not have any.
8 Q. Now, you have provided us with one 8 Q. Do your text messages with Mr. Mantha
9 text message exchange; is that correct? 9 go back to August of 2019?
10 A. Yes, sir. 10 A. I'm sorry?
11 Q. And I'm referring to Exhibit 3. 11 Q. Do your text messages with Mr. Mantha
12 12 go back to August of 2019?
13 (Exhibit No. 3 marked for 13 A. No, I don't have any -- I don't have
14 identification.) 14 any text messages that go back that far.
15 15 Q. How far do your text messages go back
16 BY MR. POLANSKY: 16 with Mr. Mantha?
17 Q. Do you see the text exchange in front 17 MR. BRODERICK: Object.
18 of you? 18 A. July 26.
19 MR. WASHKOWITZ: Ican pullit | 19 BY MR. POLANSKY:
20 up. 20 Q. July 26 of what year?
21 A. Yes, sir. 21 A. OF 2019.
22 BY MR. POLANSKY: 22 Q. I think you may be confused. So --
23 Q. And is that the only text message 23 A. I think Tam. I'm sorry.
24 exchange that you currently have in your 24 Q. That's all right. That's all right.

1-800-727-6396

Veritext Legal Solutions

4 (Pages 10 - 13)

www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 6of19

Page 14 Page 16
1 So I'm not trying to overcomplicate 1 provided have been either deleted, destroyed,
2 things. 2 whatever?
3 I'm asking, how far do your text 3 A. Yes, yes.
4 messages go back with Mr. Mantha? 4 Q. Okay. That's all I'm asking.
5 MR. BRODERICK: Objection. 5 So it's fair to say that you don't
6 A. The only text message that I have is 6 have any text messages from July of 2019; is
7 the one that is provided. Anything else is 7 that right?
8 usually deleted after it's -- as I send texts. 8 A. No, not with him. The only thing I
9 I don't keep texts. 9 have is that one. I still have it in my
10 Is that what -- is that what you're 10 phone.
11 asking? 11 Q. That's the only text message that you
12 BY MR. POLANSKY: 12 currently have with Mr. Mantha?
13 Q. Yes. Well, let me ask you this way, 13 A. Yes, sir, that's correct.
14 do you have an iPhone? 14 Q. Do you ever e-mail with Joe --
15 A. Yes, sir. 15 Mr. Mantha?
16 Q. Do you have iMessage? 16 A. No. IfIdid, it was a long, long
17 A. Yes, sir. 17 time ago. We're talking years.
18 Q. And do you keep your messages that you | 18 Q. So your modes of communication are
19 have with other individuals? 19 text message and phone call?
20 A. Sometimes. 20 A. That's correct, sir.
21 Q. So are you stating that you don't have 21 MR. BRODERICK: Objection.
22 any sort of messages or text messages with 22 BY MR. POLANSKY:
23 Mr. Mantha that go back to August of 2019? 23 Q. Or I guess in person if you see him?
24 I'm asking about in general, not just 24 A. Yes, sir.
Page 15 Page 17
1 specifically related to this case. I'm just 1 Q. Are you currently employed?
2 trying to figure out the scope of the messages 2 A. lam, sir.
3 you currently have available in your phone. 3 Q. Where are you employed?
4 A. Yeah, I -- I don't have any text 4 A. Oh, I'm a sworn-in law enforcement
5 messages other than that one with Mr. Mantha. 5 officer.
6 Q. But I don't know if you're 6 Q. And who do you work for?
7 understanding my question. 7 A. DHS, Department of Homeland Security.
8 So do you have any text messages with 8 Q. How long have you worked for DHS?
9 Mr. Mantha that go back to August of 2019? 9 A. Ten years.
10 A. No. 10 Q. And in your role -- strike that.
11 Q. Okay. So any text messages that you 11 What's your job title at DHS?
12 had with Mr. Mantha from August 2019 forward,| 12 MR. BRODERICK: Kevin, can we
13 other than the one you provided in Exhibit 3, 13 take a quick break, or can I give you a call
14 have been deleted? 14 on your cell phone?
15 MR. BRODERICK: Objection. 15 MR. POLANSKY: Sure.
16 BY MR. POLANSKY: 16 MR. BRODERICK: I'm sorry I
17 Q. You can answer. 17 didn't flag this in advance.
18 Sorry. There's going to be objections 18 MR. POLANSKY: Yes. Yes, okay,
19 throughout. You can answer unless you're 19 we'll go off the record.
20 instructed by your counsel not to. 20 THE VIDEOGRAPHER: We are off
21 A. Okay. I'm -- no, I don't have any 21 the record at 10:18 a.m.
22 other text messages from that time. 22
23 Q. So any text messages with Mr. Mantha 23 (Recess taken from 10:18 a.m.
24 dating back to August 2019 other than what you | 24 to 10:21 a.m.)

1-800-727-6396

Veritext Legal Solutions

5 (Pages 14 - 17)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 7 of 19

Page 18 Page 20
1 1 Q. And is that the phone number that you
2 THE VIDEOGRAPHER: Back on the| 2 use to communicate with Mr. Mantha on?
3 record, 10:21 a.m. 3 A. Yes, sir.
4 By MR. POLANSKY: 4 Q. Any other phone numbers that you would
5 Q. Before we had taken a break, I had 5 communicate with Mr. Mantha on?
6 asked what your job title was at the DHS. I'm 6 A. No, sir.
7 going to withdraw the question. 7 Q. How long have you known Mr. Mantha?
8 A. Yes, sir. 8 A. Kindergarten.
9 Q. In your role with DHS, do you have 9 Q. So you've been lifelong friends?
10 access to the Internet? 10 A. No. Friends since high school and
11 A. Yes, sir. 11 into college, but -- yeah, we've played soccer
12 Q. And how often -- how oftendo youuse | 12 together basically throughout all our lives.
13 the Internet? 13 Q. Have you stayed in touch with him
14 A. I don't even know how to answer that. 14 since college?
15 I mean, how often do you use your phone? You | 15 A. Yes, sir.
16 know what I mean? 16 Q. How often do you speak to Mr. Mantha
17 Yeah, we -- we have our own phones for | 17 on a weekly basis?
18 work, so I have access to the Internet all the 18 A. Not ona weekly basis.
19 time. 19 Q. Monthly basis?
20 Q. In your role, do you have the ability 20 A. Not even a monthly basis any more. We
21 to use IP addresses for other people? 21 kind of went our separate ways.
22 A. DoI-- do I have the ability? 22 Q. What about back in 2019?
23 I'm -- 23 A. Visited once; once or twice.
24 Q. Yes, yes. 24 Q. Do you recall the dates of those
Page 19 Page 21
1 A. Ihave no idea. 1 visits?
2 Q. Okay. 2 A. Ido not. I do know one was during
3 A. I'm not tech savvy, so I don't know. 3 the summertime when his wife was still
4 Q. I'm not either, that's why my 4 pregnant, before she had the baby last year.
5 questions aren't that good. 5 But, yeah, I don't -- I don't recall the date,
6 What I'm trying to figure out, though, 6 sir.
7 is, in your role at DHS, do you have the 7 Q. When you say "during the summertime,"
8 ability to, you know, go in and use other 8 do you recall whether it was June? July?
9 people's information and enter it and access 9 A. Ido not. Ido not. [just know it
10 other people's sites? 10 was hot enough that we were in the pool with
ll A. No, I don't -- I don't believe I do. 11 the kids, so...
12 And if I do -- if I did have access, I 12 Q. And that was at his house?
13 wouldn't even know how to begin to do it. 13 A. That was at his house.
14 Q. Where do you reside? 14 Q. Have you ever heard of the website
15 A. 247 Washington Avenue, Apartment 15, | 15 Snappy AutoInsurance.com?
16 Winthrop, Massachusetts, 02152. 16 A. No, sir.
17 Q. How long have you lived there? 17 Q. Have you ever discussed that website
18 A. Since December 30, 2019. 18 with Mr. Mantha?
19 Q. Any intention of moving any time 19 A. No, sir.
20 soon? 20 Q. So is it fair to say that if you've
21 A. No, sir. 21 never heard of SnappyAutoInsurance.com, you've
22 Q. And is your phone number -- does it 22 never visited the website?
23 end with 9105? 23 A. IfI did, I wouldn't know it. But no,
24 A. Yes, sir. 24 it doesn't -- I don't recall it, no.

1-800-727-6396

Veritext Legal Solutions

6 (Pages 18 - 21)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 8of19

Page 22 Page 24
l Q. Now, | understand from Mr. Mantha that ] demand was sent on your behalf; is that
2 you've had some experience with the TCPA; is 2 correct?
3 that correct? 3 A. Ifthat's what you call it, I believe
4 A. Oh, yes, sir. 4 SO, Sir, yes.
5 Q. And what's generally been your 5 Q. So you don't recall ever being named
6 experience with the TCPA? 6 as the plaintiff in a lawsuit?
7 And I want to put out there that I 7 A. Oh, no.
8 don't want any -- to know about any 8 Q. Correct?
9 communications you've had with your counsel. 9 A. No.
10 A. Understood, sir. 10 Q. And do you know who the presuit demand
11 Q. And generally, what's been your 11 was sent to?
12 experience with the TCPA? 12 A. I don't recall.
13 A. One -- what do you call it? I guess I 13 Q. Do you recall the company that you
14 don't understand the question. 14 allege violated the TCPA?
15 Have I had -- like, have I sued 15 A. I probably should, but I don't recall
16 anybody, or have I just -- like, what do | 16 offhand.
17 know as far as information-wise? 17 Q. Did you resolve the claim with that
18 Q. Sure. Well, let's -- those are good 18 company that you sent the presuit demand to?
19 questions. Let's back up a little bit. 19 A. Yes, sir.
20 Do you know what the TCPA is? 20 Q. In your experience, have you -- how
21 A. Yeah, it's like a telephone act saying 21 many times have you sent a presuit demand?
22 solicitors can't call you through automated 22 A. For that instance? I -- that's the
23 systems; something like that. 23 only one that I've ever done.
24 Q. Have you ever -- have you ever sued 24 Q. Not that instance. So I'm saying
Page 23 Page 25
1 anybody alleging a violation of the TCPA? 1 whether you sent presuit demands to a number
2 A. Yes. 2 of companies, so --
3 Q. And when did you do that? 3 A. Qh, no. No, sir, no.
4 A. I would have to look back, but I 4 Q. Are the terms of that resolution
5 believe it was sometime last -- last year. I 5 confidential?
6 don't know, yeah, the exact date of it. 6 A. Yes, sir.
7 Q. And do you recall whether you filed in 7 Q. Did you -- did you tell Mr. Mantha
8 a state court or federal court? 8 about this experience that you had sending a
9 A. I don't know. 9 presuit demand to a company that allegedly
10 Q. Do you recall what state you filed the 10 violated the TCPA?
ll lawsuit in? 11 A. Yes, sir.
12 A. Massachusetts. 12 Q. And what did you tell him?
13 Q. Do you recall the company you sued? 13 A. Generally, that I was -- I had this
14 MR. WASHKOWITZ: Kevin, I think | 14 thing going, and he asked me if it was
15 he's misunderstanding your question. There 15 illegal.
16 was no lawsuit. It was a presuit demand. 16 I was like, Yeah, and hopefully it
17 MR. POLANSKY: Okay. I was 17 works out in my favor.
18 going to follow up on that. 18 And, yeah, he asked a couple more
19 THE WITNESS: Apologies. 19 questions about what exactly you have to do.
20 MR. POLANSKY: No, that's all 20 And I was just, like, you've got to know who's
21 right. That's all right. 21 actually sending you this stuff. And if you
22 BY MR. POLANSKY: 22 find -- if you find that answer, then you may
23 Q. So] understand from your attorney 23 have a case.
24 that you sent a presuit demand or a presuit 24 Q. When you said you hoped it works out

1-800-727-6396

Veritext Legal Solutions

7 (Pages 22 - 25)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page9of19

Page 26 Page 28
1 in your favor, what did you mean by that? 1 conversation?
2 A. Ifyou find out the information as to 2 A. No. No, he was just curious.
3 who's actually trying to solicit you, if that 3 Q. Do you know who brought up the issue
4 makes any sense. 4 of the TCPA?
5 Q. Now when you told him it works out in 5 A. Yeah, it was me who told him about --
6 your favor -- you said you had these ongoing 6 he had asked me what was going on. I told him
7 issues with this company and it works out in 7 my golf game was going to hell, and I was
8 your favor; isn't that what you said? 8 doing this -- this TCPA thing.
9 A. Ongoing issues? No, I don't believe I 9 It was in the beginning process of it.
10 said that. 10 So I was a little -- I really didn't
11 Q. Okay. So I guess to clarify what you 11 understand it myself. So it was very little
12 just testified to, when I asked you if it 12 that I could really explain to him since I was
13 works out in your favor, you said if you can 13 so new to it.
14 find out the company that sent it to you. 14 Q. So when you said you were beginning
15 What -- what -- 15 this TCPA process, what was the process that
16 A. Right. 16 you were hoping to complete?
17 Q. I guess I'm confused by -- 17 A. I wasn't hoping to complete any
18 A. Find out who actually is sending you 18 process at that time. It was just so brand
19 that information, because this is -- what do 19 new. | was just kind of going through the
20 you call it? Robo call. 20 motions at that time.
21 Q. And so what -- what was your hope to 21 Q. So what were the motions?
22 get out of the presuit demand? 22 I mean, why would you send a presuit
23 A. Oh, I had no expectation. I was 23 demand if you didn't know what you were going
24 just -- I heard it's illegal. So it was brand 24 to get out of it?
Page 27 Page 29
1 new to me. So... 1 A. I guess I don't really -- basically
2 Q. Were you trying to get a monetary 2 just waiting to hear back to see -- I had no
3 settlement? 3 expectations as far as not getting my hopes up
4 A. That's what I was told that you could 4 if | was getting monetary value. IfI get
5 get, yeah, when I had asked some questions, 5 something, I get something. If I don't, I
6 80... 6 don't, I guess.
7 Q. Was Mr. Mantha interested in getting a 7 Does that answer your question?
8 monetary demand -- a monetary settlement when| 8 Q. So was the hope you that you were
9 you spoke to him? 9 hoping to get something out of it, some
10 A. No. This was -- this was before 10 monetary compensation out of it?
11 this -- this stuff happened to him. He -- he 11 A. Yeah. Well, yeah, sure.
12 was asking me -- he couldn't believe it was 12 Q. And did you -- did you tell Mr. Mantha
13 illegal, and I was like, Yeah, apparently it 13 that you were hoping to get some monetary
14 is because this is all -- this was all new to 14 settlement out of it?
15 me too. 15 A. Yeah.
16 Q. When you said you had this 16 Q. Was he interested in that?
17 conversation this summer of 2019 when you were 17 A. I wouldn't say interested. He was
18 at his house in the pool, was that -- would it 18 just curious.
19 be fair to say that that would have been 19 Q. Did he ask you the steps that you took
20 before August of 2019? 20 in setting this up, the presuit demand?
21 A. Yeah, I -- yeah, that makes sense. 21 A. No. I think I just divulged some
22 Q. Did he -- did he provide you with any 22 information about, you've just got to find out
23 information about whether he had been 23 who -- who's actually trying to solicit you,
24 receiving robo calls in the past during this 24 who's trying to reach out to you. So if you

1-800-727-6396

Veritext Legal Solutions

8 (Pages 26 - 29)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 10of 19

Page 30 Page 32
1 find out who that is, then you most likely 1 after we had had that, you know, where we hung
2 have got something. So... 2 out with the kids, but I couldn't tell you a
3 Q. And at that time, he didn't mention 3 date.
4 anything about whether he had been receiving 4 Q. So after the conversation at his
5 robo calls or text messages from any 5 house, you don't recall whether you had
6 companies? 6 provided your counsel's information at that
7 A. NO, sir. 7 time to Mr. Mantha?
8 Q. How long was the conversation 8 A. No, I didn't -- I didn't provide any
9 regarding the TCPA, if you recall? 9 counsel information to him at that time; no,
10 A. It was -- it was kind of all meshed 10 sir.
11 together, as far as what I -- what I was -- 11 Q. Between the time at his house and the
12 what I had been doing. He had asked me what I | 12 time when he received the text message in
13 had been up to, and that was like -- probably 13 August, did you have any conversations with
14 like one of several things that we discussed, 14 him, either by phone or text message,
15 so I really can't put a time on it. 15 regarding the TCPA?
16 Q. The robo calls that you received, were 16 A. Yes, sir.
17 they text messages or phone calls? 17 Q. And how often did you speak to him
18 A. They were phone calls. 18 about the TCPA between that time period?
19 Q. And what were the phone calls about? 19 A. I think a text to ask me if text
20 Were they insurance? Some other -- mortgages? | 20 messaging counted, because J didn't know. But
21 A. It was about a college loan. 21 I wasn't sure, and then a phone call maybe.
22 Q. Now at that time, did you inform 22 Q. And you don't -- it's fair to say you
23 Mr. Mantha that you had counsel who prepared | 23 don't have that text message any more, right?
24 the demand for you? 24 A. No, no, but it was very basic.
Page 31 Page 33
1 A. I think I said my lawyer was on it, 1 Q. And do you recall when he sent you
2 doing the -- doing the -- doing what he does. 2 that text regarding text messaging?
3 Q. And do you recall when you provided 3 A. No. It was just after, that he
4 him with your lawyer's information? 4 apparently received a text message himself.
5 A. The exact date? No. He had asked 5 Q. Sol guess -- I just want to clarify.
6 me -- yeah, I couldn't give you a date on 6 What I'm talking about is the period
7 it. 7 between the time when you're at his house at
8 Q. He asked you what? You said he had 8 the pool, right, and then the time when he
9 asked you? 9 received the text messages in early August.
10 A. No. I was just saying what you just 10 Were there any communications with you
11 said. I'm not really sure when he had asked 11 during that time frame regarding the TCPA?
12 me for that information. 12 A. No, sir.
13 Obviously, it was after that he -- he 13 Q. Okay. So the conversations you're
14 received that text, so... 14 talking about were after he received the
15 Q. Why do you say it was obviously after 15 initial text message from my client?
16 he received the text? 16 A. Yes, it was a text message. I just
17 A. Because that's when he was curious 17 don't -- I don't have it, but I remember the
18 about text messaging. 18 basis of it. It asked me, Do text messages
19 Q. Did he express curiosity regarding 19 count?
20 text messaging to you? 20 And I'm like, Maybe, I'm not sure.
21 A. Yes, sir. 21 So...
22 Q. And when did you -- 22 Q. And did you -- did you find out if
23 A. Like I said, I don't have a date. | 23 text messages count?
24 just -- this is obviously after -- the summer 24 A. I did.

1-800-727-6396

Veritext Legal Solutions

9 (Pages 30 - 33)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page11of19

Page 34 Page 36
1 Q. And how did you find that out? 1 So I had checked with my lawyer, and
2 A. Thad asked my lawyer. 2 he said, yes.
3 Q. And did you provide that information 3 So I texted him back. That was that
4 to Mr. Mantha? 4 brief text that I don't have.
5 A. Yes, I did. 5 But I said, Yes, they do count. And
6 Q. And what did you tell him? 6 if you want to pursue this, like, here's the
7 A. I told him, Yeah, they do count. 7 information to the guy, the lawyer that I
8 Q. And did you tell him that via text, or 8 have, and, yeah, that was it. It was basic.
9 was it over the phone? 9 Q. And the information you provided was
10 A. It was through text. 10 to Mr. Washkowitz?
11 Q. And do you know how many text messages 11 A. Yes, sir.
12 you and Mr. Mantha exchanged during this sort | 12 Q. And do you recall how you exchanged
13 of one issue? 13 Mr. Washkowitz's information to Mr. Mantha?
14 A. Like I said, I don't have it, but it's 14 A. I'm actually thinking about that right
15 just basic and brief. 15 now.
16 Q. Now, you said there was also a phone 16 I don't know if it was through text or
17 call. Was that phone call that you had with 17 perhaps it was during that phone call, because
18 Mr. Mantha after he received that text 18 I don't really remember the phone call. |
19 message? 19 just know that there was one after that first
20 A. Yes, I believe so. No, I know so. 20 text that first, you know, going back and
21 Sorry. 21 forth, but I just can't remember the
22 Q. And what was the phone call about? 22 specifics.
23 A. I couldn't even tell you. 23 Q. Now I understand that you can't recall
24 Q. How do you -- 24 as you sit here today whether he sent you a
Page 35 Page 37
1 A. Thave -- I can't even recollect 1 snapshot of the QuoteWizard text messages.
2 exactly what we talked about. 2 Do you have any memory of what those
3 Q. So you recall there was a phone call 3 text messages said?
4 discussing the TCPA, but you don't recall what | 4 A. No.
5 it was about? 5 Q. Did you try to assist Mr. Mantha in
6 A. Say that again. 6 determining who was texting him?
7 Q. Sure. You recall that there was a 7 A. | -- yeah, I don't remember. I'm not
8 phone call with you and Mr. Mantha regarding 8 really sure.
9 the TCPA, but you don't recall any of the 9 Q. If Mr. Mantha testified that he
10 substance? 10 believed that you did assist him in trying to
ll A. No, not really. 11 find out who had texted him, would that shock
12 Q. Did he screenshot the text messages to 12 you or --
13 you that he received from QuoteWizard? 13 A. No, no, but I'm not really sure about
14 A. I don't recall. It's possible. It's 14 investigation. I possibly -- if I did see the
15 just -- it's been a while. 15 text, which I may have seen it, | may have,
16 Q. Was -- after he received the initial 16 like, looked it up to see if -- where -- where
17 text from QuoteWizard, did you provide your 17 that person was or if it was real.
18 counsel's information to him then at that 18 But other than that, no, I -- I don't
19 point? 19 have any investigative skills in that sense,
20 A. After he received -- no, it was -- it 20 so | wouldn't know.
21 was during -- it was when he had asked me the | 21 Q. So you don't recall finding out for
22 question, and then I had to find -- like, he 22 him who texted him?
23 had asked me if text messaging counts, and I 23 A. No, I don't recall specifically,
24 was like, I think so, but I'm not sure. 24 but -- yeah, I'm sorry, I don't remember.

1-800-727-6396

Veritext Legal Solutions

10 (Pages 34 - 37)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 12of19

Page 38 Page 40
1 Q. That's all right. 1 they planned to take?
2 Do you have access to any sort of 2 A. No. I guess it was just implied at
3 databases for phone numbers, you know, to 3 that point when we had a conversation after,
4 determine, you know, who sent a message from al 4 like, Oh, okay, but not -- nothing we talked
5 certain phone number? 5 about, so...
6 A. No, sir. 6 Q. What was implied?
7 Q. So just to be clear, if 1 was going to 7 A. That he was going down the same road
8 look up a number, I would probably Google it, 8 that I had previously done and -- yeah.
9 411 reverse look-up or something, try to find 9 Q. And that was the presuit demand?
10 out who called. 10 A. Yes. My presuit? Yes, yes.
11 Do you have any other databases that 11 Q. So he was going to go down the same
12 you can access that would provide that level 12 road of sending a presuit demand like you had
13 of information? 13 done; is that right?
14 A. No, sir. I don't have access to 14 A. I guess it was implied, but he didn't
15 something like that. 15 specifically say. There was no conversation
16 Q. So as you sit here today, you can't 16 where he was, like, All right, I'm going to do
17 confirm whether it was you that determined 17 X, Y, and Z; my lawyer and I are going to do
18 that QuoteWizard was a real company for 18 this.
19 Mr. Mantha? 19 It was just, he was like, Hey, I think
20 A. Not with any certainty; no, sir. 20 I've got something here.
21 Q. But you wouldn't dispute the fact that 21 I'm like, Okay.
22 if Joe testified that it was you that it, in 22 Q. Did he say anything more about what he
23 fact, was you? 23 thinks he had?
24 A. You know, like I said, a Google search 24 THE STENOGRAPHER: I'm sorry,
Page 39 Page 41
1 tops, but nothing like -- when you say 1 was there an objection?
2 "investigative," I think, like, really 2 MR. BRODERICK: Yes. Objection.
3 in-depth. 3 BY MR. POLANSKY:
4 No, I don't believe it was to that -- 4 Q. You said he thinks he got something
5 to that extent. Maybe a Google search, but 5 here, right?
6 that's about it. 6 A. Say that again, sir.
7 Like I said, I don't remember. 7 Q. Sure. Your testimony was you said, I
8 Q. Do you recall having any conversations 8 think I got something. "I" being Mr. Mantha;
9 with Mr. Mantha after it was learned that it 9 is that right?
10 was QuoteWizard that sent the text messages to | 10 A. Yes, sir.
11 him and what to do next? 11 Q. Did he inform you as to what the
12 A. No, sir. After I gave him the 12 something was that he had?
13 information about my lawyer, I left it up to 13 A. No, sir. Like I said, I just -- it
14 them to figure it out. 14 was implied that -- the text message, I took
15 Q. Did you have any conversations with 15 from that conversation, vague conversation, I
16 him regarding, you know, what it was that he 16 can't really remember specifics, but that
17 planned to do in light of the text messages 17 he -- the text message was good and, like, him
18 sent by QuoteWizard? 18 and his lawyer were going to do, you know, I
19 A. Plan to do? 19 forget the word, the pre-whatever, but it was
20 Q. Sure. So even after he retained 20 not specifically said to me, you know, so...
21 Mr. Washkowitz to represent him with respect | 21 Q. Has Mr. Mantha kept you informed of
22 to the claim, did he inform you of what, you 22 sort of the status of his case from time to
23 know, their plan was or anything that they 23 time?
24 planned to do against QuoteWizard? Any steps | 24 A. Nothing specific, just vagueness.

1-800-727-6396

Veritext Legal Solutions

11 (Pages 38 - 41)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page13 of 19

Page 42 Page 44
1 Just, yeah, it's coming along, it's still 1 him?
2 going. Basically, sort of stuff like that. 2 A. He could have called me. I think he
3 Q. Has he ever discussed with you any 3 did call me. I don't know for certain.
4 issues relating to consent? Consent to 4 Q. Did he discuss with you anything that
5 receive text messages from Quote Wizard? 5 he expected to come up in the deposition?
6 A. Doesn't -- no, that doesn't sound 6 A. No, no, nothing like that. He just
7 familiar. 7 felt uncomfortable, yeah, so...
8 Q. Has he -- has he ever discussed any 8 Q. And he felt uncomfortable because his
9 issues with respect to fraudulent consent? 9 name was on the pleading?
10 A. No, sir. 10 A. He thought that was weird seeing that,
11 Q. He's never discussed anything relating 11 but I don't think that -- from what I could --
12 to fraudulent allegations in this litigation? 12 from what I could understand, he wasn't
13 A. | -- things that remember? No, 13 looking forward to the deposition, just like
14 nothing like that. 14 I'm not today, probably.
15 He told me about his deposition and he 15 Q. And when you say he felt
16 was, like, weirded out about it. He was 16 uncomfortable, what did he feel uncomfortable
17 worried about his name being on a document. 17 about, if he said anything?
18 But as far as that, there were no 18 A. Ireally don't remember how he
19 specifics on that. 19 described it or if there was any description
20 Q. When you say he told you about his 20 about it.
21 deposition, did he discuss it with you prior 21 I just -- I kind of just felt that,
22 to the deposition? 22 okay, yeah, this is all new and this is kind
23 A. He had told me when his deposition was | 23 of weird, like I feel ght now. | think he's
24 going to be and he was weirded out about it. 24 feeling the same thing I'm feeling right now.
Page 43 Page 45
1 Q. And what was he weirded out by? 1 Q. Which is what?
2 A. I don't know. He was -- this is all 2 A. Like, weird, like I'm in trouble, like
3 new to him, I guess. He felt uncomfortable 3 I'm in front of the principle like I did
4 with his name on the -- this. 4 something wrong.
5 (Witness indicating.) 5 Q. Well, [hope you don't look at me like
6 So... 6 the principle.
7 Q. His name on the case caption? 7 A. Well, it's kind of like that. You
8 A. Yes, sir. 8 know, you seem like a good guy, but I'm
9 Q. Ijust couldn't see what you were 9 just -- this is all weird to me, so...
10 referring to, but I assume -- 10 Q. I get it.
11 A. No, no, it's okay. Yeah. 11 And you understand I'm using sort of
12 Q. Is it -- is what you're referring to, 12 what you tell me to further explore, right?
13 is that the top of the pleading? Does it say 13 So when you say he felt uncomfortable,
14 Joseph Mantha and other individuals? 14 it's my job to sort of ask you what that
15 A. Yes, sir, that's what I'm referring 15 means. You know?
16 to. 16 A. No, lunderstand. And I can't give
17 Q. Okay. Was that conversation by phone | 17 you, like, an answer for that because he never
18 or text message? 18 gave any specifics. But I kind of feel what
19 A. That was by phone. 19 he's feeling right now. I guess J can kind of
20 Q. And about how long was that 20 relate. I don't know if it's true or not.
21 conversation? 21 But...
22 A. I couldn't put a time on it. A 22 Q. Sure. Now, before you had the
23 couple -- a few minutes. 23 conversation regarding his impending
24 Q. And did he call you, or did you call 24 deposition, approximately how many times have

1-800-727-6396

Veritext Legal Solutions

12 (Pages 42 - 45)

www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 14 of 19

Page 46 Page 48
1 you discussed this case with him over the 1 important for me to retain, | guess. But it's
2 course of it? 2 possible, I just don't remember.
3 A. Before today? 3 Q. And it's fair to say that you've never
4 Q. Before his deposition. So his 4 gone on the SnappyAutolInsurance.com website
5 deposition was back in July. 5 for him in 2019; is that right?
6 A. Oh. Yeah, it -- we may have talked -- 6 A. Not that I know of. No, sir. It
7 yeah, I don't know. I can't put a number on 7 doesn't sound familiar.
8 it, but once or twice maybe. I'm not really 8 Q. Has he ever forwarded you any case
9 sure. 9 documents in this case?
10 Q. And did he give you any sort of 10 A. No, sir.
11 details on how it was going? What the status 11 Q. Now after he sent the presuit demand,
12 was? 12 did he advise you that he was going to file
13 A. No. It was just delay, delay, and, 13 litigation involving the claim?
14 yeah, no specifics though. 14 A. I don't even remember a conversation
15 Q. Did he say what was delayed? 15 where he sent the demand. It's not really
16 A. No, not specific. Like the process, 16 those type of conversations.
17 and I just didn't really -- I didn't ask 17 You just -- yeah, we're going with it.
18 anything, like, to question that. 18 His verbiage is a lot different from yours.
19 I was, like, Oh, okay, must be a 19 He was like, Yeah, my lawyer and I are
20 lawyer thing. 20 going to explore it. We'll see what happens.
21 Q. Did he discuss with you any 21 But nothing specific about the case
22 discussions regarding settlement? 22 itself, yeah.
23 A. No, sir, nothing like that. 23 Q. Now, you said you spoke to Mr. Mantha
24 Q. Anything about monetary value? 24 prior to the deposition. Right?
Page 47 Page 49
1 A. No, sir. No, no figure or anything 1 A. Text message, yeah, that last text
2 like that, no. 2 message.
3 Q. Did he discuss with you any 3 Q. Well, let's take a look at the text
4 allegations that are -- strike that. 4 message, which is Exhibit 3.
5 Has he ever discussed with you any 5 A. Yes, sir, I've got a copy of it. I'm
6 allegations that he entered his personal 6 looking at it right now.
7 information into a website called 7 Q. So if you look at the text message,
8 SnappyAutoInsurance.com in 2019? 8 it's dated July 26; is that right?
9 A. Could you repeat that question, 9 A. Yes, I see it.
10 please. 10 Q. And this is a message that you sent to
11 Q. Sure. Has he ever discussed with you 11 him, right?
12 allegations that he entered his personal 12 A. Yes. Yes, sir.
13 information onto a website called 13 Q. So there was a conversation with him
14 SnappyAutoInsurance.com? 14 prior to sending this text message, because I
15 A. No, I don't recall, no. 15 think it's fair to say that you were already
16 Q. So he's never discussed anything 16 aware that there was going to be a deposition
17 related to that web suit or web suit -- 17 happening before you sent this text; is that
18 website relating to issues involving whether) 18 right?
19 he provided consent to receive the text 19 A. Yes, sir, you're correct.
20 messages at issue? 20 Q. So that conversation is the one you
21 A. Not -- I don't specifically remember | 21 just told me about, right?
22 that. Could be, but I just -- I don't 22 A. I don't know if that was the exact
23 remember. It was a while ago, and it's not | 23 conversation, but -- no, I can't tell you if
24 something I -- in all honesty, it's not really | 24 it was or wasn't. I don't remember.

1-800-727-6396

Veritext Legal Solutions

13 (Pages 46 - 49)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 15of19

Page 50 Page 52
1 Q. Does anything stick out to you 1 A. No, sir.
2 regarding that conversation prior to you 2 Q. Did you read his deposition transcript
3 sending this text? 3 before today?
4 A. Nothing that sticks out. 4 A. No. I don't have access -- no, no.
5 Oh, this text? 5 Oh, this -- no. His deposition? No, no.
6 The only thing, he told me that maybe 6 Q. So as you sit here today, you don't
7 a week before, but -- I can't even be positive 7 have any memory that he informed you of what
8 about the time -- but, yeah, I've got my 8 was discussed or what he testified to
9 deposition coming up. And I just remembered 9 regarding his deposition?
10 it was that day and I just sent him a text. 10 MR. BRODERICK: Objection.
11 Q. Now, in your text, you say, “Show no 11 A. He has never discussed that, no. I
12 fear, Joseph. It ain't nothing." 12 haven't talked to him in a while, so no.
13 Now, you've never been involved in a 13 BY MR. POLANSKY:
14 deposition, right? 14 Q. Do you recall speaking to Mr. Mantha
15 A. No. 15 on August 19, 2019?
16 Q. So what was the purpose of saying "It 16 A. I don't. The date doesn't pop out.
17 ain't nothing"? 17 No, sir, I don't.
18 A. Telling him to relax, because like I 18 Q. August 22nd?
19 said before, seeing his name kind of weirded 19 A. 19th? 22nd? I don't recall.
20 him out, and he had already expressed that the | 20 Q. 29th?
21 deposition was kind of like making him 21 A. No, sir, I can't -- I can't recall
22 uncomfortable, so... 22 those dates specifically as -- but that sounds
23 Q. So did he -- after the deposition was 23 like a lot.
24 over, did he text you? 24 So we -- we don't usually talk. So,
Page 51 Page 53
1 A. No. No, sir. 1 like I said, we have busy lives now, but those
2 Q. Did he call you? 2 dates don't pop out.
3 A. No, sir. 3 Q. Right. And I guess that's why I'm
4 Q. He didn't -- he didn't give you a buzz 4 asking that, because based on your earlier
5 and tell you how it went? 5 testimony, it doesn't sound like you talked
6 MR. BRODERICK: Objection. 6 all that often. But, you know, we got his
7 A. No, sir. 7 call records and it shows that, you know, when
8 BY MR. POLANSKY: 8 and how long you spoke to him, and there's
9 Q. And what about you? I mean, so you 9 quite a few during that time frame.
10 sent a text message, good luck tomorrow. Did | 10 Do you recall what those conversations
11 you follow-up with him and say, Hey, how did | 11 were relating to?
12 things go yesterday or today? 12 A. No. And I'm actually surprised,
13 A. Yeah, I don't think so. I don't think 13 because like I said, I don't talk to him a
14 so, no. 14 lot. So...
15 Q. He didn't call you after and say, Hey, 15 Q. What about September 12th?
16 by the way, your name came up quite a bit at 16 A. No. I can't recall these dates.
17 the deposition? 17 Q. Let me ask you a couple of other
18 A. No. 18 questions, whether you know any of these
19 Q. He didn't outline for you what he 19 people or entities. Okay?
20 testified to regarding conversations he had 20 A. Okay.
21 with you? 21 Q. Have you ever heard of QuoteWizard
22 MR. BRODERICK: Objection. 22 before today?
23 BY MR. POLANSKY: 23 A. No, I don't believe so.
24 Q. You can answer. 24 Q. When you were discussing the text

1-800-727-6396

Veritext Legal Solutions

14 (Pages 50 - 53)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 16 of 19

Page 54 Page 56
1 messages received by Mr. Mantha, you have no | 1 name sounds familiar, but I can't put a face
2 memory of telling him QuoteWizard was areal | 2 to the name.
3 company? 3 Q. Is it possible you spoke to Mr. Mantha
4 A. I don't recall the specific company. 4 about a Justin Cohen?
5 But like I said, I possibly could have Googled 5 A. It doesn't jog amemory, no. No,
6 whatever that -- Wizard, whatever you just 6 sir.
7 said. But I don't recall the specific, and I 7 Q. What about Adam Brown?
8 don't want to get it wrong, so... 8 A. No, sir.
9 Q. Have you ever heard of the company 9 Q. So all of these people I just listed,
10 Plural Marketing Solutions? 10 is it fair to say that you haven't spoken to
11 A. Doesn't come to mind, no. No, sir. 11 Mr. Mantha regarding any of these individuals
12 Q. And so it's fair to say you haven't 12 or entities?
13 discussed that company with Mr. Mantha? 13 A. No, sir, you would be correct.
14 A. That would be correct. No, I don't 14 MR. POLANSKY: Let's take a
15 know anything about that company. 15 two-minute break. I might be done. Just give
16 Q. And I apologize in advance. It's 16 me a few minutes or so to go through my notes.
17 going to be the same line of questioning for 17 Okay?
18 all of these companies to see if -- 18 THE WITNESS: Yes, sir.
19 A. Sir, it's fine. 19 THE VIDEOGRAPHER: Off the
20 Q. Have you ever heard of Rev Point 20 record, 11:05 a.m.
21 Media? 21
22 A. No, sir. 22 (Recess taken from 11:05 a.m.
23 Q. And fair to say you've never spoken to 23 to 11:11 a.m.)
24 Mr. Mantha about Rev Point Media? 24
Page 55 Page 57
1 A. That's correct. 1 THE VIDEOGRAPHER: We are back
2 Q. Have you ever heard of George Rios? 2 on the record at 11:11 a.m.
3 A. No, sir. 3 BY MR. POLANSKY:
4 Q. Peter Petrof? 4 Q. Mr. Novia, not too much more, probably
5 A. No, sir. 5 five or so minutes,
6 Q. Mario Carreiro? 6 A. Yes, sir.
7 A. No, sir. 7 Q. Have you ever heard of the website
8 Q. Nicholas Banks? 8 called SnappySurveys.com?
9 A. No, sir. 9 A. Is that -- possibly. Is that
10 Q. Blue Flame Marketing? 10 something that you can get money for? As far
11 A. Going back to Nicholas Banks, is 11 as taking surveys and then they pay you?
12 that -- it could possibly be his wife's 12 Q. It could be. I don't know.
13 brother. I just can't remember. Is that 13 A. Okay. If that -- if that is, that's
14 where we're going with this? 14 possible. I think I've signed up for
15 Q. Well, that's who it is, yeah. 15 something like that before.
16 A. So I've heard of the name, yeah. 16 Q. Do you know whether Mr. Mantha has
17 Yeah, I've heard of his name before. 17 signed up for anything on SnappySurveys.com?
18 Q. Have you ever met him? 18 A. I wouldn't know that, sir. I
19 A. I don't believe so, and if I did it 19 couldn't -- he never told me anything like
20 was a long time ago. 20 that.
21 Q. Blue Flame Marketing? 21 Q. Has he ever discussed that website
22 A. No, sir. 22 with you?
23 Q. How about Justin Cohen? 23 A. No, sir. Like I said, I'm not even
24 A. Justin Cohen? For some reason, that | 24 familiar with that website. But when you said

1-800-727-6396

Veritext Legal Solutions

15 (Pages 54 - 57)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page17of19

Page 58 Page 60
1 "surveys," I -- | remember something from a 1 that?
2 while back where I was just seeing how much 2 Q. Sure. Yes.
3 you could make with surveys. So... 3 So sometimes when you go on a website,
4 Q. What about UnitedQuotes.com? Have you 4 right, it asks you before your signature to
5 heard of that site? 5 click a button, it says, you agree to receive,
6 A. No, sir. 6 you know, promotional materials or whatever
7 Q. Did you ever discuss with Mr. Mantha 7 else.
8 his interest, if he had any, in obtaining 8 A. I know that box, yeah.
9 automobile insurance quotes? 9 Q. Have you ever -- did you ever discuss,
10 A. No, sir. It doesn't come to mind. 10 you know, whether you received certain
11 Q. When he received the text messages 11 messages via either phone calls or text
12 from QuoteWizard relating to auto insurance, 12 messages as a result of clicking that opt-in
13 did he say anything about the subject matter 13 button?
14 of the text, whether he had or hadn't 14 A. No. No, not specifically.
15 requested any sort of auto insurance quotes? 15 Q. Did you -- did you ever give
16 A. I don't recall. I don't recall. 16 Mr. Mantha any advice on how to go about
17 Q. Did he -- 17 determining who was sending him the text
18 A. I don't recall that. 18 messages?
19 Q. Did he say anything regarding whether 19 A. I was so new to it myself, I was just,
20 this is something he did or didn't sign up 20 like, basically you've just got to try to --
21 for? 21 my understanding of what it was, you have to
22 A. Ican't recall. I'm sorry. 22 find out who is actually trying to send you
23 Q. When he received the text messages 23 the stuff and, yeah, I mean, my -- like I
24 from QuoteWizard, did he ask you how to 24 said, my extent is a Google search. That's
Page 59 Page 61
1 respond to them? 1 basically what -- what I would know and what I
2 MR. BRODERICK: Objection. 2 would do. So...
3 A. No. I think it was just an initial 3 Q. Is it fair to say that you've never
4 question, because I wasn't 100 percent sure 4 had access to either his phone or computer?
5 that it was illegal because I had only done it 5 A. No, sir, I've never had access to his
6 over the phone, you know, through my 6 phone or computer.
7 experience. 7 Q. And again, just to confirm, did you
8 So -- but, no, not -- not that 8 ever have any conversations with Mr. Mantha
9 specific. I think -- I think it was just that 9 about whether he knew who QuoteWizard was and
10 dialogue where I texted back "yes" after I had 10 whether he signed up to receive any sort of
11 talked to my lawyer, nothing specific. 11 text messages or calls with them?
12 BY MR. POLANSKY: 12 MR. BRODERICK: Objection.
13 Q. Did you have any communications with | 13 A. No, I don't recall. Like I said, I
14 Mr. Mantha regarding the fact that he did 14 don't -- I mean, I would imagine now, just
15 respond to the text messages to schedule a 15 from talking, that it's QuoteWizard.
16 meeting with the entity texting him? 16 But I don't recall Quote Wizard itself.
17 A. It's possible. [just don't remember. 17 So, no, these -- I have no recollection of
18 I think it perhaps may have been through a 18 these conversations, no.
19 text, but I just can't remember. 19 MR. POLANSKY: I think that's
20 Q. Did you ever have any discussions with | 20 all I have.
21 Mr. Mantha about opting in to receive either 21 Thank you very much for your time.
22 text messages or calls via websites? 22 THE WITNESS: Yes, sir.
23 A. Opting in? I don't 100 percent 23 MR. POLANSKY: Mr. Mantha, your
24 understand that question. Could you repeat 24 counsel may have questions for you.

1-800-727-6396

Veritext Legal Solutions

16 (Pages 58 - 61)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21 Page 18 of 19

Page 62 Page 64
1 MR. BRODERICK: No, I don't have | 1 Edward A. Broderick, Esq.
2 any questions, but thank you very much for 2 ted@broderick-law.com
3 your time. 3 September 15, 2020
4 MR. POLANSKY: Thank you very 4 RE: Joseph Mantha v. Quotewizard.Com LLC
5 much for your time. 3 9/1/2020, Steven Novia (#4237832)
6 the WITNESS: Yes, sir. 6 — The above-referenced transcript is available for
. 7 review.
: record, 1 noes OFF the 8 Within the applicable timeframe, the witness should
9 THE STENOGRAPHER: Before you 9 read the testimony to verify its accuracy. If there are
10 hang un. will vou be ordering a transcript? 10 any changes, the witness should note those with the
Eup y 6 P 11 reason, on the attached Errata Sheet.
° I'll take a haere Yes, please. 12. The witness should sign the Acknowledgment of
B MR. POLANSKY: I'll take a 13 Deponent and Errata and return to the deposing attorney.
. 14 Copies should be sent to all counsel, and to Veritext at
\4 transcript as well. 15 cs-ny@veritext.com.
15 THE STENOGRAPHER: Thank you. 16
16 17 Return completed errata within 30 days from
17 (Deposition concluded at 11:17 a.m.) 18 receipt of testimony.
18 19 Ifthe witness fails to do so within the time
19 20 allotted, the transcript may be used as if signed.
20 21
21 22 Yours,
22 23 Veritext Legal Solutions
23 24
24 25
Page 63 Page 65
1 CERTIFICATION 1 Joseph Mantha v. Quotewizard.Com LLC
2 I, DARLENE M. COPPOLA, a Notary Public, do hereby 2 Steven Novia (#4237832)
3 certify that STEVEN NOVIA, after having satisfactorily 3 ERRATA SHEET
4 identifying himself, appeared remotely on the Ist day 4 PAGE _LINE___ CHANGE
5 of September, 2020, in Framingham, Massachusetts, and. 5
6 was by me duly sworn to testify to the truth and 6 REASON
7 nothing but the truth as to his knowledge touching and 7 PAGE LINE _ CHANGE
8 concerning the matters in controversy in this cause; 8
9 that he was thereupon examined upon his oath and said 9 REASON
10 examination reduced to writing by me; and that the 10 PAGE ___LINE_ CHANGE
11 statement is a true record of the testimony given by "
12 the witness, to the best of my knowledge and ability. 12 REASON
13 PAGE LINE CHANGE
13 ] further certify that I am not a relative or 14 OO OO
14 employee of counsel/attorney for any of the parties, 15 REASON
15 nor a relative or employee of such parties, nor am | 16 PAGE. _LINE._ CHANGE
16 financially interested in the outcome of the action. 7
17 WITNESS MY HAND THIS 15th day of September, 2020. 18 REASON
18 19 PAGE _—LINE__ CHANGE
19 0
200 Patent M.Coppeto. 21 REASON
21 DARLENE M. COPPOLA My commission expires: 92
22 NOTARY PUBLIC November 11, 2022 33
23 REGISTERED MERIT REPORTER 24 Steven Novia Date
24 CERTIFIED REALTIME REPORTER 25

1-800-727-6396

Veritext Legal Solutions

17 (Pages 62 - 65)
www.veritext.com
Case 1:19-cv-12235-LTS Document 208-11

Filed 07/14/21

Page 19 of 19

Oo oS OO

Joseph Mantha v. Quotewizard.Com LLC
Steven Novia (#4237832)
ACKNOWLEDGEMENT OF DEPONENT

I, Steven Novia, do hereby declare that I
have read the foregoing transcript, I have made any
corrections, additions, or changes I deemed necessary as
noted above to be appended hereto, and that the same is
a true, correct and complete transcript of the testimony

given by me.

Page 66

Steven Novia Date

*Tf notary is required

SUBSCRIBED AND SWORN TO BEFORE ME THIS
__DAYOF. i

NOTARY PUBLIC

1-800-727-6396

Veritext Legal Solutions

18 (Page 66)
www.veritext.com
